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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED THERAPEUTICS
 CORPORATION,
         Plaintiff,
                v.                                          Civil Action No. 24-484 (JDB)
 FOOD AND DRUG ADMINISTRATION
 et al.,
         Defendants.


                                    SCHEDULING ORDER

       Upon consideration of [16] the parties’ joint motion for a scheduling order, defendant-

intervenor Liquidia Technologies, Inc.’s (“Liquidia”) consent to the schedule proposed therein,

the scheduling conference held on this date, and the entire record herein, it is hereby

       ORDERED that the motion is GRANTED; it is further

       ORDERED that the following schedule shall govern further proceedings on plaintiff’s

motion for a preliminary injunction:

       1. Defendants and defendant-intervenor shall file their oppositions to plaintiff’s motion

           by not later than March 18, 2024.

       2. Plaintiff shall file its reply, if any, by not later than March 22, 2024.

       3. A hearing on plaintiff’s motion is set for March 29, 2024 at 11:00 a.m. in Courtroom

           30; and it is further

       ORDERED that defendant Food and Drug Administration shall provide the Court and the

parties with at least three business days’ advance notice prior to the issuance of any decision on

Liquidia’s amended 505(b)(2) application (but such notice need convey only the timing of the

decision, not its content). Such notice shall be provided under seal.


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      SO ORDERED.



                                                                  /s/
                                                           JOHN D. BATES
                                                       United States District Judge
Dated: March 7, 2024




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